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                       Confidential Forensic Psychological Evaluation
Name of Examinee:         Eric Bochene                        Date of Examination: 3/13/23
Date of Birth:            19711                               Date of Report:      4/3/23
                                          Reason for Examination
Eric Bochene is a 51-year-old male referred by United States District Judge Randolph Moss in
the matter of the United States of America v. Eric Bochene, United States District Court for the
District of Columbia, Criminal Action No. 21-cr-418 (RDM). More specifically, this examiner
was asked to determine, “…pursuant to 18 U.S.C. § 4247(c), as to whether Mr. Bochene suffers
from severe mental illness to the point where he is not competent to conduct trial proceedings by
himself, see Indiana v. Edwards, 554 U.S. 164, 178 (2008), and as to whether Mr. Bochene is
presently mentally competent to understand the nature and consequences of the proceedings
against him and to properly assist in the preparation of his defense, see 18 U.S.C. § 4241(d).”
                                           Examination on 3/13/23

    ⮚ Interview, Mental Status & Behavioral Observations
    ⮚ Administration of the Minnesota Multiphasic Personality Inventory, 3rd Ed. (MMPI-3)
    ⮚ Functional Assessment of Competence to Self-Represent
Consent and Statement of Non-confidentiality
This examiner provided a full explanation for the purpose of the evaluation, the examinee’s
ability to understand the charges against them, and the ability to assist the attorney in the defense
against the charges noted above. Mr. Bochene stated that he was sufficiently capable of
understanding the reason for the evaluation and ultimately provided consent, but also
emphasized that he did not really feel that he had much of a choice regarding his participation
due to the Court Order. Nevertheless, at the least, his assent was obtained.
                                 Assessment of Mental Disease or Defect
Mental Status and Behavioral Observations
Mr. Bochene presented as a man who appeared his stated age. He was well groomed and neatly
dressed in a black suit and black tie. His eye contact was good. He was somewhat defensive
initially but quickly warmed up to the interview process and was generally cooperative. His
1
 Mr. Bochene declined to provide his full date of birth but indicated “71” for the year when completing a
psychological test.

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speech was of normal rate and tone. His thought processes were generally rational, although at
times tangential on points he considered salient to his case. He was readily redirected, however,
when required. His mood was mildly anxious and his affect was congruent with his mood. He
did not appear to be responding to internal stimuli. He did not evidence any aberrations in
mannerisms or thought. His insight and judgment were generally good.

As stated previously, Mr. Bochene was initially somewhat challenging this examiner as to the
legitimacy of the examination because he thought that the charges against him lacked foundation.
He appeared to respond well to subsequent dialogue about his circumstance and became less
defensive and much more open in his opinions and demeanor.

Personal Interview

The interview with Mr. Bochene took about one hour and thirty minutes and was audio
recorded.2 The psychological testing ensued thereafter.

Mr. Bochene provided basic background information but declined to provide his date of birth.
He later, during the testing portion of the examination, consented to provide his year of birth and
indicated to the examiner that his birthday was later in the year than the date of the examination.3

Mr. Bochene denied a history of developmental delay or psychiatric problems. Per his report, he
had a high IQ and graduated from high school in three years and subsequently took some college
classes. He described himself as a “Renaissance Man” with a wide range of interests and
passions and, as a result, followed a somewhat unconventional career path.

He denied current substance abuse problems. He admitted to the experimentation with drug in
the early 1990’s but has been free of the use of drugs for a number of years. He reported an
unremarkable legal history aside from a misdemeanor in the 1990’s when he was partying too
much.

Mr. Bochene reports that he is in good health and is not prescribed any medication. He is a rare
consumer of the health care system per his report.

Psychological Testing

The results of the MMPI-3 were considered valid for purposes of clinical interpretation. No
indicia were suggestive of the over- or under-reporting of signs or symptoms of
psychopathology. These findings were clinically unremarkable, meaning there were no
indications of clinically significant psychological dysfunction. There were moderate indications
of an inflated sense of self-importance and a domineering interpersonal style, but these
personality characteristics did not rise to the threshold of clinical significance nor were they
suggestive of severe underlying psychopathology. His MMPI-3 testing results could be readily
found among a significant subset of normal functioning adults.

2
  At the inception of the interview, Mr. Bochene insisted that the interview be recorded. This examiner stated that
he would then need to record the interview, too, if done so by Mr. Bochene, in order to ensure the validity of
recordings.
3
  This allowed this examiner to determine his chronological age for purposes of testing norms, which Mr. Bochene
understood.

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Opinion Regarding Mental Disease or Defect
Based on his overall presentation, observed mental status and clinical presentation, along with
the results of objective psychological testing, it is concluded within a reasonable degree of
certainty that Mr. Bochene does not meet legal standard for mental disease or defect, and that
any potentially relevant DSM-5-TR diagnosis would not meet the legal standard for mental
disease of defect as contemplated by the statute (i.e., adjustment disorders, or generalized anxiety
disorders, would not rise to such a threshold).
         DSM-5-TR Impression: 309.24, Adjustment Disorder, with anxiety, likely secondary to
                              current legal stressors
                              V62.5, Problems Related to Other Legal Circumstances

         DSM-5-TR diagnosis considered but not formally diagnosed:
                               F07.0, Unspecified Personality Disorder with Paranoid and
                               Narcissistic Features4

It is the opinion of this examiner that Mr. Bochene possesses some dysfunctional personality
traits that can become maladaptive and/or create episodic functional impairments, but that they
do not appear to rise to the threshold of a) a formal DSM-5-TR Personality Disorder diagnosis,
nor b) do these traits rise to the statutory threshold of a mental disease or defect. He can be
flamboyant and provocative in his interpersonal style but these are likely the characteristics of
dysfunctional personality traits versus more severe elements of a mental disease or defect.

                              Assessment of Competence to Self-Represent

Assessment Framework

The assessment of competence to self-represent is necessarily a process based off the 2008
ruling, Indiana v. Edwards, by the Supreme Court of the United States (SCOTUS). In that
ruling, SCOTUS stated, in part, “We consequently conclude that the Constitution permits
judges to take realistic account of the particular defendant's mental capacities by asking whether
a defendant who seeks to conduct his own defense at trial is mentally competent to do so. That is
to say, the Constitution permits States to insist upon representation by counsel for those

4
  Per the DSM-5-TR, “Personality traits are enduring patterns of perceiving, relating to, and thinking about the
environment and oneself that are exhibited in a wide range of social and personal contexts. Only when personality
traits are inflexible and maladaptive and cause significant functional impairment or subjective distress do they
constitute personality disorders. The essential feature of a personality disorder is an enduring pattern of inner
experience and behavior that deviates markedly from the norms and expectations of the individual’s culture and is
manifested in at least two of the following areas: cognition, affectivity, interpersonal functioning, or impulse
control; this enduring pattern is inflexible and pervasive across a broad range of personal and social situations; leads
to clinically significant distress or impairment in social, occupational, or other important areas of functioning; the
pattern is stable and of long duration, and its onset can be traced back at least to adolescence or early adulthood; the
pattern is not better explained as a manifestation or consequence of another mental disorder; and, is not attributable
to the physiological effects of a substance.” Diagnostic and Statistical Manual of Mental Disorders : Fifth Edition
Text Revision DSM-5-TR™, | American Psychiatric Association,https://ebooks.appi.org/epubreader/diagnostic-
statistical-manual-mental-disorders-fifth-edition-text-revision-dsm5tr



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competent enough to stand trial under Dusky but who still suffer from severe mental illness to the
point where they are not competent to conduct trial proceedings by themselves.”

As further clarified by Berger (2016), “Hence, if a defendant suffers from ‘severe mental illness’
and cannot satisfy the higher competency standard that is needed to conduct trial proceedings, a
court can require that he or she be represented by an attorney without infringing upon the Sixth
Amendment right to self-representation.”

Berger (2016) added, “Much of the scholarly literature written in the aftermath of Edwards has
focused on suggesting the exact standard of representational competence that a trial court should
apply if it chooses to assess whether a given defendant is competent to conduct trial proceedings,
a question left unanswered by the high Court's decision.” Put differently, guidance has been
limited to what threshold is needed to establish sufficient competency to self-represent.

The final consideration pertaining to the forensic psychological assessment of self-representation
in the extent to which a pro se defendant must possess essential, or even minimal, legal skills.
As described by Saxton and Resnick (2017), “The Seventh Circuit indicated that the Klessig
decision strayed from the ‘mental functioning’ sense of competence over to educational
achievement and familiarity with the criminal justice system (Tatum, p 467),” and “The Seventh
Circuit said that state courts mistakenly thought that Edwards introduced the possibility of
considering a defendant’s legal knowledge. In Edwards, the U.S. Supreme Court held that the
state may force counsel upon a defendant in the scenario where the accused is mentally
competent to stand trial if represented, but is ‘not mentally competent to conduct that trial
himself’ (Edwards, p 167). The Seventh Circuit emphasized that the opinion in Edwards was
focused on mental competence, rather than a particular skill. In summary, the Seventh Circuit’s
ruling in Tatum emphasizes that the right to represent oneself is a constitutional right that is not
to be infringed upon based on a lack of education, skill, or achievement; rather, competence to
proceed pro se must be considered as it relates to mental functioning.” In other words, mental
functioning clinically attributed to mental disease or defect.

In response to the need for operational guidance in assessing a reasonable threshold for
competency to self-represent, scholars and practitioners began to craft models and proposed
guidelines (e.g., see LeCluyse, 2015; Patton et al, 2019; White & Gutheil, 2016). A digested
version of these works suggests that a functional appraisal of self-representation include: 1)
dysfunction in goal-directed behaviors attributed to neurocognitive or psychiatric disorder(s);
2) speech and/or language dysfunction that is neurologic and/or psychiatric in nature;
3) sufficient reality testing, absence of clinical paranoia, and/or disordered personality;
4) sufficient affective control and reasonable management of impulsivity; and 5) sufficient
cognitive ability not encumbered by medication side-effects, substance-related abuse, active
hallucinations, sequelae of traumatic brain injury or other forms of neurological dysfunction,
persistent effects of delirium/confusion, and/or severe intellectual disability.

These guidelines also recommend a functional assessment of basic procedural elements of the
courtroom, trial process, and various “trial tasks” common to the criminal proceedings (e.g.,
rights to pretrial discovery, to object to prosecution evidence based upon rules of evidence,
subpoena witnesses for the defense, etc.).

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Application of the Assessment Framework to Mr. Bochene

As discussed previously in this report, Mr. Bochene’s clinical presentation throughout the course
of the examination was not consistent with significant mental illness or frank psychiatric
disturbance. He was, at least initially, somewhat defensive and, in this writer’s mind, overly
litigious with the use of terminology and/or the basis for his objections to the charges against
him, but he was always able to discuss these issues in a relatively rational and coherent manner.
He accepted challenges to his point of view without upset or sign of psychological regression.

There were no indications during the examination process that Mr. Bochene evidenced clinically
significant problems with items #1-5 outlined on the previous page of this report. He did not
demonstrate impediments in goal-directed behavior due to neurologic or psychiatric
dysfunction; he was sufficiently capable of communicating without signs of psychiatric
interference or neurologic limitation; he had sufficient reality testing, albeit at times matched
with an inflated sense of self or perseverating on his point of view; he showed consistently good
control of his affect and behavior; and he did not evidence any clinical signs of cognitive
impairment.

As for a functional assessment of how to navigate or manage trial processes or “trial tasks,” Mr.
Bochene, politely but nevertheless stridently, rejected the premise of these questions, for a
variety of reasons, which can perhaps best be summarized as:

   1. He viewed the charges against him as frivolous and in violation of his 1st Amendment
      rights.
   2. He asserted that the Court does not have jurisdiction to bring charges against him and that
      Federal Laws are subordinate to Uniform Commercial Code (UCC), which falls under
      United States Code (USC).
   3. There is a bias in the legal system that ostensibly compels an individual choosing to self-
      represent to conform and accept the assignment of an attorney, even if that individual
      feels philosophically or morally opposed to such assignment.

When asked what his broader legal strategy was for his case, he reiterated that he was “standing
on the actual laws and…mostly commercial and international treaties…” and that he was
applying “positive law and affirmative defense standards.” He defended his legal strategy based,
in part, on his general distrust of the legal process and his belief that the charges against him are
politically motivated.

This writer pressed him on how he planned to reconcile his position with the clear position of the
Court that, indeed, the United States of America has brough charges against him and that it is
evident to this writer that it appears necessary to mount a defense rather than continue to protest
the legitimacy of the charges against him. A hypothetical example was put to him to elucidate
this point. He was asked how reasonable it would be for a student to enter a school, explain to
the principal that he does not agree with some of the rules of the school, did not believe that
he/she should be accountable for violations of these rules, but still expected to remain within the
school building and receive a full education. Upon hearing this hypothetical example, Mr.
Bochene acknowledged that his approach to the Court could be problematic for him. When

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asked what he considered to be a reasonable solution to this conundrum, he reported that he
would favor some form of arbitration, although no specific details were offered. This said he did
appear to be somewhat conciliatory and, perhaps, eager to arrive at a suitable resolution.

Further, and somewhat related to the points above, Mr. Bochene also stated that he wished to
have a clear and detailed explanation of the duties and obligations of standby counsel. He did so
after this examiner asked him about his working relationship with standby counsel, and he
appeared to be reconsidering the potential benefits of some guidance, although this impression is
speculative.

In sum, with regard to the assessment of Mr. Bochene’s competence to self-represent, there are
no significant clinical or functional barriers suggesting he does not have the ability to do so. His
arguments against the charges and the legitimacy of the Court are more on esoteric and
philosophical grounds, with an element of an anti-authority stance as well. While arguably
viewed by many as a poor choice on his behalf, his position and reasoning is not born of mental
disease or defect, and are likely due to personal conviction, interpersonal intransigence, and
some elements of entrenched personality traits.

Opinion Regarding Competence to Self-Represent

While it can be reasonably argued that his apparent recalcitrant approach to his defense of the
charges against him are disruptive and, perhaps, ill-advised, such conduct does not in the opinion
of this examiner rise to the threshold of an inability to understand the nature and consequences of
the proceedings against him and to assist in the preparation of his defense. Whether his strategy
or preparation is effective or legally advisable is yet another matter.

Indeed, he can become contrary rather quickly if he perceives he is justified in doing so, but also
demonstrates the ability to be conciliatory, at times. Further, at times he appears to view himself
as “above the fray,” which contributes to the view by others that he can be, at least at times,
irrational or arbitrary in his decision-making.

All this said, the cognitive basis for his reasoning is predicated primarily on resistance to the
foundational authority of the government to bring forth the charges against him, not from a
serious mental disease or defect.

Additionally, psychological testing appears to reinforce the conclusion of an absence of severe
psychopathology.

Last, this opinion is bolstered by the conclusion of this writer that there is insufficient indication
of a mental disease or defect. Hence, at least in the view of this examiner, absent demonstrable
clinical evidence of a mental disease or defect, Indiana v. Edwards may not be applicable in this
case.




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                                                      Opinion

It is the opinion of this examiner, within a reasonable degree of clinical certainty, that:

    1. Mr. Bochene does not meet the legal standard for mental disease or defect;
    2. His functional capacity to self-represent is adequate, and any potential liabilities in doing
       so are likely due to personal choice, and not due to mental disease or defect.




Note: I, James W. Mikesell, Ph.D., ABPP, as a psychologist duly licensed to practice in the State of New York and
authorized by law to practice in the State as a psychologist, hereby affirm under the penalty of perjury that
statements contained herein are true and accurate. The findings and conclusions of this evaluation are made by this
examiner with a reasonable degree of certainty and are subject to modification should additional information not yet
provided or reviewed by this examiner become available. I further certify that the signature appearing below is my
electronic signature as defined by the NYS Technology Law §302(3) and 15 USC §7001, and that I have personally
placed this electronic signature on this report and that facsimiles and copies of this report shall be deemed original.




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